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                     9     NEO4J, INC. AND NEO4J SWEDEN AB
                   10                                IN THE UNITED STATES DISTRICT COURT

                   11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

                   12      NEO4J, INC., a Delaware corporation, NEO4J              Case No. 5:18-cv-07182-EJD
                           SWEDEN, AB,
                   13                                                              PLAINTIFFS’ ADMINISTRATIVE
                                               Plaintiffs,                         MOTION TO FILE CERTAIN
                   14                                                              ADMITTED TRIAL EXHIBITS
                                   v.                                              UNDER SEAL
                   15
                           PURETHINK LLC, a Delaware limited
                   16      liability company, IGOV INC., a Virginia
                           corporation, and JOHN MARK SUHY, an
                   17      individual,

                   18                          Defendants.

                   19
                           AND RELATED COUNTERCLAIMS.
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                           PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE CERTAIN ADMITTED TRIAL EXHIBITS UNDER SEAL;
SAN JOSE  REDWOOD CITY
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                     1             Plaintiffs Neo4j, Inc. and Neo4j Sweden AB (collectively “Plaintiffs”) hereby move the
                     2     Court pursuant to Civil Local Rules 7-11 and 79-5 for an Order to file certain admitted trial exhibits
                     3     under seal. Northern District of California Civil Local Rule 79-5(b) permits parties to seal
                     4     documents, or portions thereof, that are shown to be “privileged, protectable as a trade secret or
                     5     otherwise entitled to protection under the law.” Id. The request to seal “must be narrowly tailored
                     6     to seek sealing only of sealable material.”
                     7             There is a presumption of public access to judicial records and documents. Nixon v. Warner
                     8     Commc’ns, Inc., 435 U.S. 589, 597, 98 S. Ct. 1306, 55 L. Ed. 2d 570 (1978). However, that
                     9     presumption can be overcome if a party can demonstrate “compelling reasons” to seal judicial
                   10      records. Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006). Examples
                   11      of compelling reasons to seal records include potential release of business information that might
                   12      harm a party’s competitive strategy, pricing, profits, and customer usage information kept
                   13      confidential by a company that could be used to the company’s competitive disadvantage. See
                   14      Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214 (Fed. Cir. 2013).
                   15              Plaintiffs seeking to file the following admitted trial exhibits under seal:
                   16              1.      Trial Exhibit 15 Excel Spreadsheet – 2022-11-14 Neo4j Monthly Closed Won
                   17                      Report as of 2022-11-14.
                   18              2.      Trial Exhibit 16 – 2017-10-01 Neo4j USA Price List, effective Oct. 1, 2017.
                   19              3.      Trial Exhibit 17 – 2019 04 01 Neo4j USA Price List, effective April 1, 2019.
                   20              4.      Trial Exhibit 18 – 2020-04-01 Neo4j USA Price List, effective April 1, 2020.
                   21              5.      Trial Exhibit 19 – 2021-07-01 Neo4j USA Price List, effective July 1, 2021.
                   22              6.      Trial Exhibit 118 – 2019-04-19 Email from Jason Zagalsky to Shakan Nagiel
                   23                      thanking him for setting up meeting with MPO and attaching Neo4j USA's
                   24                      commercial licensing proposal for $2.2 million (Depo Ex. 55).
                   25              7.      Trial Exhibit 209 2022-12-22 Expert Report of Steven B. Boyles.
                   26              8.      Trial Exhibit 213 2015-10-01 Neo Tech Price List (USD).
                   27      These trial exhibits consist of and/or contain Neo4j, Inc.’s highly confidential and proprietary sales,
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                     1     financial and business information.
                     2             As detailed in the Declaration of Jason Zagalsky in support this Motion to Seal (“Zagalsky
                     3     Decl.”), Exhibit 15 contains Plaintiffs’ highly confidential and commercially sensitive information
                     4     regarding Neo4j USA’s pricing, business model and strategy for securing customer contracts and
                     5     confidential details of customer relationships and preferences. Zagalsky Decl., ¶¶ 3(a). Plaintiffs
                     6     consider this information to be highly confidential, competitively sensitive, and takes significant
                     7     precautions to ensure that this type of information is not publicly disclosed. Id., ¶ 3(a) and ¶ 4. The
                     8     disclosure of this confidential information would substantially harm Neo4j USA’s competitive
                     9     standing in the marketplace, provide competitors such as Defendants with information that could
                   10      be used to obtain a competitive advantage over Plaintiffs and damage its customer relationships.
                   11      Id. This document was also previously submitted by Defendants with the opposition to Plaintiffs’
                   12      motion for summary judgment, and the Court found good cause existed to file it under seal. See
                   13      Dkt. No. 219.
                   14              Plaintiffs are also seeking to file Exhibits 16, 17, 18, 19 and 213, which constitute Neo4j,
                   15      Inc.’s internal confidential price lists, under seal. These price lists contain commercially sensitive
                   16      and confidential information regarding the structure and amount of licensing and subscription fees
                   17      for Neo4j® Enterprise Edition, as well as pricing and discount information. Zagalsky Decl., ¶ 3(b).
                   18      They also reveal specific and detailed information concerning Plaintiffs’ software features,
                   19      subscription models, professional service offerings, and marketing strategy. Id. Plaintiffs consider
                   20      this information to be highly confidential, competitively sensitive, and takes significant precautions
                   21      to ensure that this type of information is not publicly disclosed. Id., ¶ 3(b) and ¶ 4. The disclosure
                   22      of this information would expose Neo4j USA to substantial competitive harm by providing
                   23      competitors, including the Defendants, with information that could be used by them to obtain a
                   24      competitive advantage over Neo4j USA and potentially damage its actual and potential customer
                   25      relationships. Id., ¶ 3(b).
                   26              Plaintiffs are seeking to file Exhibit 118 under seal. The email attachment in this exhibit is
                   27      an April 19, 2019 Neo4j Proposal to the Maryland Procurement Office and Next Century, which
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                     1     contains commercially sensitive and highly confidential information regarding the structure and
                     2     amount of licensing and subscription fees for Neo4j® Enterprise Edition, as well as pricing and
                     3     discount information. Zagalsky Decl., ¶ 3(d). It also reveals specific and detailed information
                     4     concerning software features, subscription models, professional service offerings, and marketing
                     5     strategy. Id. Plaintiffs consider this information to be highly confidential, competitively sensitive,
                     6     and takes significant precautions to ensure that this type of information is not publicly disclosed.
                     7     Id., ¶ 3(b) and ¶ 4. The disclosure of this information would expose Plaintiffs to substantial
                     8     competitive harm because it would provide competitors, including the Defendants, with
                     9     information that could be used by them to obtain a competitive advantage over Plaintiffs and
                   10      potentially damage its actual and potential customer relationships. Id., ¶ 3(d). The Court previously
                   11      found good cause to seal this exhibit in conjunction with Plaintiffs’ first motion for summary
                   12      judgment. See Dkt. No. 119 at 2:1-3.
                   13              In addition, Plaintiffs seeking to file portions of Exhibit 209, which is the expert report
                   14      authored by Plaintiffs’ damages expert under seal. The redacted portions of that report consist of
                   15      excerpts from the aforementioned confidential internal price lists and other confidential pricing,
                   16      sales and financial information that Plaintiffs does not publically disclose. Zagalsky Decl., ¶ 3(c).
                   17      Access to this internal pricing and financial information on a “need-to-know basis” to a small
                   18      number of high-level employees of Plaintiffs, and limits its disclosure subject to a non-
                   19      disclosure/confidentiality agreement.      Id.   Plaintiffs consider this information to be highly
                   20      confidential, competitively sensitive, and takes significant precautions to ensure that this type of
                   21      information is not publicly disclosed. Id., ¶ 3(c) and ¶ 4. The disclosure of this information would
                   22      expose Plaintiffs to substantial competitive harm by providing competitors, including the
                   23      Defendants, with information that could be used by them to obtain a competitive advantage over
                   24      Plaintiffs and potentially damage its actual and potential customer relationships. Id., ¶ 3(c).
                   25              Finally, Plaintiffs have taken steps to minimize the exhibits that it seeks to file under seal
                   26      in the least restrictive way, and is only seeking to seal a fraction of the admitted exhibits. With
                   27      respect to Trial Exhibit 209, Plaintiffs are only redacting their highly confidential and proprietary
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                     1     information. As a result, Plaintiffs’ request is narrowly tailored to seek the sealing only of sealable
                     2     material, and is the least restrictive means of preserving the confidentiality of the foregoing and
                     3     preventing substantial competitive harm to Plaintiffs, while balancing the public’s right of access
                     4     to the Court’s records. For these reasons, Plaintiffs respectfully request that the Court grant this
                     5     motion to seal.
                     6 Dated: January 26, 2024                                 HOPKINS & CARLEY
                                                                               A Law Corporation
                     7

                     8                                                          By: /s/ Jeffrey M. Ratinoff
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                   10                                                              Counter-Defendants
                                                                                   NEO4J, INC. and NEO4J SWEDEN AB
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